                Case 3:24-cr-01885-KC          Document 1   Filed 08/05/24   Page 1 of 3




                                                                                            FILED
                                                                                        August 05, 2024
                                                                                     CLERK, U.S. DISTRICT COURT
                                                                                     WESTERN DISTRICT OF TEXAS

                                                                                            Fidel Morales
                                                                                  BY: ________________________________
                                                                                                          DEPUTY




                                                                        EP:24-M-03314-MAT




Complaint sworn to telephonically on
   August 05, 2024
____________       at __________
                         02:00 PM and signed
electronically. FED.R.CRIM.P. 4.1(b)(2)(A)
Case 3:24-cr-01885-KC   Document 1   Filed 08/05/24   Page 2 of 3
Case 3:24-cr-01885-KC   Document 1   Filed 08/05/24   Page 3 of 3
